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 7
 8                        UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
10 UNITED STATES OF AMERICA,                )     Case No. 18CR3677-W
11                                          )
                Plaintiff,                  )     NOTICE OF WITHDRAWAL
12                                          )     OF APPEARANCE
           v.                               )
13 DUNCAN D. HUNTER,                        )
                                            )
14 MARGARET E. HUNTER,                      )
                                            )
15              Defendant.                  )
                                            )
16 TO THE CLERK OF COURT AND ALL PARTIES OF RECORD:
17       I, the undersigned attorney, enter my withdrawal as counsel in the above-
18 captioned case. Effective this date, I am no longer associated with this case and
19 should not receive any further Notices of Electronic Filings relating to activity in
20 this case:
21         Name
22         Bradley G. Silverman
23 Please feel free to call me if you have any questions about this notice.
24       DATED: October 28, 2019.
25                                                DAVID D. LESHNER
26                                                United States Attorney

27                                                s/Bradley G. Silverman
                                                  BRADLEY G. SILVERMAN
28
